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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 19-CIV-20534-MORENO/LOUIS

  LUIS BARRIOS,

         Plaintiff,

  vs.

  CARNIVAL CORPORATION,
  d/b/a CARNIVAL CRUISE LINES,
  a Panamanian Corporation,

         Defendant,
                                        /

                      DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

         Defendant, Carnival Corporation d/b/a Carnival Cruise Line moves for summary

  judgment.

                                             Introduction

         Luis Barrios (“Plaintiff”) was a 57-year old passenger onboard the Carnival Inspiration

  with his husband, Patrick Brewer. Plaintiff and Mr. Brewer were celebrating their honeymoon.

  On the first day of a cruise, passengers report to assigned muster stations for the passenger safety

  briefing. This briefing addresses what passengers do in the unlikely event that there needs to be

  an emergency evacuation of the vessel.

         While each passenger’s Sail & Sign Card prominently displays their assigned muster

  station, Plaintiff and Mr. Brewer reported to the incorrect station. Specifically, they reported to

  Muster Station “E” located at the Candlelight Lounge, whereas they were assigned to nearby

  Muster Station “D.”




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          Upon realizing that Plaintiff and Mr. Brewer were at the wrong muster station, a Carnival

  crewmember advised them that they needed to report to their proper station. While escorting

  Plaintiff and Mr. Brewer, they approached a small three-step staircase. After the crewmember

  descended the stairs ahead of Plaintiff and Mr. Brewer, she turned to offer her hand as assistance.

          Unbeknownst to Carnival, Mr. Brewer suffered three strokes in the past, limiting his

  mobility and resulting in various physical limitations. As a result of these strokes, Mr. Brewer is

  easily distracted, and often loses his balance and falls sideways as a result. Here, in response to

  the crewmember’s offer to assist, Mr. Brewer threw his hands into the air, lost his balance, and

  fell down the stairs bringing Plaintiff down with him.

          Consistent with commonsense and Plaintiff’s contractual obligation, he should have

  advised Carnival that Mr. Brewer required special accommodations. He did not. Plaintiff fell

  because Mr. Brewer had a history of strokes, reacted in an unexpected way to a crewmember’s

  offer of assistance, and pulled Plaintiff to the ground. That Plaintiff fell due to Carnival’s

  negligence is without support. Mr. Brewer’s conduct is the sole proximate cause of Plaintiff’s

  fall. Carnival is entitled to final summary judgment.

                                    Statement of Material Facts

          1.     Plaintiff and his husband, Patrick Brewer, cruised onboard the Carnival

  Inspiration to celebrate their honeymoon. [DE 1] [Deposition of Plaintiff, pg. 17, attached as

  Exhibit 1].

          2.     Prior to cruising, Plaintiff accepted Carnival’s ticket contract on his behalf and for

  Mr. Brewer. [Ticket Contract Acceptance Report, attached as Exhibit 2; Deposition of Monica

  Borcegue at pgs. 112-13, attached as Exhibit 3].

          3.     The ticket contract provides that:



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          The Guest warrants that he and those traveling with him are physically and emotionally
          fit to travel at the time of the embarkation, and further warrants that such Guests have no
          medical or emotional condition that would engaged any Guest or crewmembers or result
          in deviation of the voyage. Guests are encouraged to contact their treating physician to
          discuss their health concerns, including pregnancy, before traveling. (see Clause 5(b)
          below for pregnancy restrictions). Any Guest with special medical, physical or other
          needs requiring medical attention or special accommodation during the voyage is
          requested to notify Carnival in writing at the time of booking of such special need. Upon
          booking the cruise, Guests who have special needs are requested to contact Carnival’s
          Guest Access Desk (305-599-2600 ext. 70025) to discuss the details of their special
          needs. Carnival recommends that any Guest who is not self-sufficient travel with a
          companion who shall take responsibility for any assistance needed during the voyage.

          [Ticket Contract 5(a), attached as Exhibit 4].

          4.      Mr. Brewer suffered three strokes prior to the cruise, and according to Plaintiff,

  “Mr. Brewer’s movements and mobility are impaired.” [Plaintiff’s Answers to Carnival’s Second

  Request for Interrogatories, attached as Exhibit 5]. When distracted, he loses his balance and

  “goes sideways.” [Exh. 1 at pgs. 69-70]. “He’s disabled.” [Id. at pg. 17]. Neither Plaintiff nor Mr.

  Brewer advised Carnival of Mr. Brewer’s condition.

          5.      On the first day of the cruise, Plaintiff and Mr. Brewer participated in the

  mandatory passenger safety briefing (colloquially, the muster drill). While at the first muster

  station they reported to, their names were announced and they were advised that they reported to

  the incorrect station. [Exh. 1 pgs. 71-73].

          6.      Every passenger’s muster station assignment is detailed on their Sail & Sign Card.

  [Plaintiff’s actual Sign & Sail Card, attached as Exhibit 6]. Even though this information is

  readily apparent, Carnival announces same over the loudspeaker prior to the guest safety briefing.

  [Passenger’s Safety Briefing Announcement, attached as Exhibit 7]. During these announcements,

  Carnival also informs that; “For our passengers requiring special assistance we have a ‘Special

  Needs’ team.”




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           7.      After realizing they were at the incorrect muster station, crewmember, Melissa

  Quemado, approached Plaintiff and Mr. Brewer to lead them to their proper station. Neither

  Plaintiff nor Mr. Brewer advised the crewmember of Mr. Brewer’s condition. [Id.].

           8.      While following the crewmember out of the improper station, Plaintiff held Mr.

  Brewer’s right arm as they walked behind. [Id.]. They followed the crewmember for about twenty

  feet before reaching a few steps. [Id. at pg. 82].

           9.      After the crewmember reached the steps, and before Plaintiff and Mr. Brewer

  began to descend, the crewmember turned around to assist. [Id. at pg. 84; 86]. As Plaintiff, recalls,

  “the girl was trying to help him down the steps.” [Id. at pg. 74].

           10.     Unexpected to Plaintiff, Mr. Brewer lost control. As Plaintiff recalls, “I did not

  expect for him to lose control right there and he took me down with him flying the three steps and

  we both landed on the floor and on the other side of the steps.” [Id. at 74].

           11.     After falling, Plaintiff stood up and helped Mr. Brewer as well. [Id. at pg. 92].

  They did not need medical care. [Exh. 3 at pg. 51].

           12.     In Plaintiff’s opinion, “[m]y fall was caused by Patrick because Melissa caused

  his fall.” [Id. at pgs. 125-26].

                                         Memorandum of Law

           Summary judgment “shall be rendered forthwith if the pleadings, depositions, answers to

   interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

   genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

   of law.” See FED. R. CIV. P. 56(c). That there are “some alleged factual disputes between the

   parties will not defeat an otherwise properly supported motion for summary judgment; the




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  requirement is that there be no genuine issue of material fact.” See Anderson v. Liberty Lobby,

  Inc., 477 U.S. 242, 247–48 (1986) (emphasis in original).

         Once the moving party demonstrates a lack of evidence by the non-movant on an issue

  which he has the burden of proof, the non-movant must affirmatively demonstrate a genuine

  factual dispute to avoid summary judgment. Info. Sys. & Network Corp. v. City of Atlanta, 281

  F.3d 1220 (11th Cir. 2002). The party opposing summary judgment may not rely upon the

  pleadings or mere denials of the allegations contained in a motion for summary judgment. The

  non-movant must adduce some evidence showing that material facts are at issue on a matter that

  he will bear the burden at trial. Celotex Corp. v. Catrett, 277 U.S. 317, 324 (1986). “[T]he plain

  language of Rule 56 mandates entry of summary judgment against a party who fails to make a

  showing sufficient to establish the existence of an essential element to that party’s case, and on

  which that party will bear the burden of proof at trial.” Jones v. UPS Ground Freight, 683 F.3d

  1283, 1292 (11th Cir. 2012).

         General maritime law applies to cases, like this one, alleging torts committed onboard

  ships sailing in navigable waters. Kermarec v. Compagnie Generale Transatlantique, 358 U.S.

  625 (1959). Under general maritime law, a shipowner owes its passengers a duty of reasonable

  care under the circumstances. Id. It is well-established that a cruise line is not liable to

  passengers as an insurer; there must be some failure to exercise due care before liability can be

  imposed. Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1334 (11th Cir. 1984).

         To establish negligence, here, Plaintiff must prove that: (1) Carnival had a duty to protect

  Plaintiff from a particular injury; (2) Carnival breached that duty; (3) the breach actually and

  proximately caused Plaintiff’s injury; and (4) Plaintiff suffered actual harm. Chaparro v.

  Carnival Corp., 693 F.3d 1333, 1336 (11th Cir. 2012).



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         To find that Carnival breached its duty, Carnival must have actual or constructive

  knowledge of the specific risk-creating. Keefe v. Bahama Cruise Lines, Inc., 867 F.2d 1318,

  1327 (11th Cir. 1989); Pizzino v. NCL (Bahamas) Ltd., 709 F. App’x 563, 565 (11th Cir. 2017).

  Specifically, Plaintiff must show that 1) a dangerous condition existed; and 2) Carnival should

  have known that the dangerous condition existed, and enough time passed that corrective action

  should have been taken. See Keefe, 867 F.2d at 1322; Klein v. Regent, No. 16-21981, 2017 WL

  3405531, *2 (S.D. Fla. Aug. 7, 2017); Adams v. Carnival, No. 08-22465, 2009 WL 4907547, at

  *3 (S.D. Fla. Sept, 29, 2009).

         I.      No Dangerous Condition Existed

         Plaintiff testified that Mr. Brewer caused him to fall, and alleged that Carnival

  crewmember, Melissa Quemado, caused Mr. Brewer to lose his balance. [Id. at pgs. 125-26].

  Although not mentioned by Plaintiff during his deposition, the Complaint alleges that Carnival’s

  crowd control policies, and specifically those pertaining to the passenger safety briefing,

  proximately caused his fall. [DE 1].

         As this Court recognized in Klein, “one must not presume that because an accident

  occurred, a dangerous condition existed.” Klein, 2017 WL at *3. The plaintiff must prove there

  was a dangerous condition. Id. Here, Carnival did not cause Mr. Brewer’s fall, and there is no

  evidence that its procedures guiding the safety briefing process were unreasonable.

         II.     Carnival Was Not on Notice that Mr. Brewer Was Disabled and Prone to
                 Falling

         Plaintiff admits that Mr. Brewer caused his fall, but blames crewmember Quemado for

  Mr. Brewer’s causal conduct. [Exh. 1. at pgs. 125-26]. Commonsensically, Plaintiff blames Mr.

  Brewer for his fall because when Mr. Brewer threw his arms up into the air, Mr. Brewer lost his

  balance and “[Plaintiff] went down with him.” [Id. at pgs. 85-86]. Further, the Parties agree that


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  Mr. Brewer lost his balance because he is atypically sensitive and easily distracted due to his

  history of strokes. “He’s disabled.” [Id. at pg. 17-18]. Specifically, he is prone to losing his

  balance and falling “sideways.” [Exh. 1 at pgs. 17, 69-70].

         Carnival’s duty here is measured against a standard of objective reasonable care under

  the circumstances. Rodriguez v. Akal Sec., Inc., 2013 WL 435947, *3 (S.D. Fla. Feb. 4, 2013).

  The defendant’s duty of care does not increase for each particular person; the defendant is only

  required to act in an objectively reasonable way based upon information known to it. Garcia v.

  United States, 2010 WL 2977611, *20 n. 10 (D.N.M. June 15, 2010). “The obviousness of a

  danger and adequacy of a warning are determined by a ‘reasonable person’ standard, rather than

  on each particular plaintiff’s subjective appreciation of the danger. Individual subjective

  perceptions of the injured party are irrelevant in the determination of whether a duty to warn

  existed.” John Morrell & Co. v. Royal Caribbean, 534 F. Supp. 2d 1345, 1351 (S.D. Fla. 2008);

  see also Magazine v. Royal Caribbean Cruises, Ltd., 2014 WL 1274130 (S.D. Fla. 2014). As a

  result, the “eggshell-skull” doctrine—the defendant “takes plaintiffs as he finds them”—applies

  only to damages. It has no bearing on issues of duty or causation. Garcia, 2010 WL 2977611.

         Had Plaintiff or Mr. Brewer advised Carnival or Ms. Quemado that Mr. Brewer needed

  special accommodation, Carnival would have provided same. [Exh. 3 at pgs.113-14] [Exh. 7].

  [Muster Station Personnel Lesson Plan at slide 43, attached as Exhibit 8]. Neither Plaintiff nor

  Mr. Brewer advised Carnival or Ms. Quemado of Mr. Brewer’s condition. [Exh. 1]. When Ms.

  Quemado lent a hand to assist with the stairs, she was not on notice of Mr. Brewer’s condition.

  Her conduct was reasonable.

         Accepting Plaintiff’s theory of liability would hold that the cruise line is the absolute

  insurer of passenger safety, required to prevent any accident based upon any passenger’s unique



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  medical condition. The law does not require this. Carnival need only act in an objectively

  reasonable manner. See Vaughn v. Nissan Motor Corp., 77 F.3d 736 (4th Cir. 1996) (“A circular

  saw would be quite dangerous if used by a blind man, but a properly designed and manufactured

  saw is safe and useful to an ordinary person. Consequently, circular saws are not per se

  defective, notwithstanding a fingerless blind man here and there.”). Here, offering Mr. Brewer a

  hand as he approached a small staircase was reasonable.

         III.    It Was Unforeseeable That Mr. Brewer Would React Erratically

         Proximate cause and foreseeability are not always jury questions. Courtney v. Am. Oil

  Co., 220 So. 2d 675 (Fla. Dist. Ct. App. 1968). An act can so clearly not be a foreseeable

  consequence, that a court may decide the proximate cause issue as a matter of law. Id. That Ms.

  Quemado’s offer of assistance would cause Mr. Brewer to throw his hands haphazardly into the

  air was unforeseeable.

         Ms. Quemado’s offer of assistance was an act of common courtesy. As Plaintiff and Mr.

  Brewer already walked approximately twenty feet to the stairs, [Exh. 1 at pg. 82], it was

  unforeseeable that Mr. Brewer had a serious physical disability attributable to a history of

  strokes. There was no reason to anticipate Mr. Brewer’s erratic response to an offer of help.

         Plaintiff admits that Mr. Brewer’s condition caused Plaintiff to fall – a condition that

  Carnival was not on notice. Carnival is entitled to summary judgment.

         IV.     Carnival’s Guest Safety Briefing Procedures Did Not Cause Plaintiff’s Fall

         While Plaintiff unequivocally blames Mr. Brewer for his fall, the Complaint [DE 1]

  inappositely blames Carnival’s crowd control and/or the guest safety briefing process. Upon

  embarking onto a Carnival vessel for a voyage, passengers are required to partake in the guest

  safety briefing, wherein they report to their assigned muster station. [Exh. 7]. Each passenger’s



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  muster station assignment is written on their Sail & Sign Card, which they obtain prior to the

  guest safety briefing. [Exh. 6]. The locations of each muster station are posted within each

  passenger cabin, and crewmembers remain available throughout the vessel to assist. [Exh. 3 at

  pg. 34, 60].

         At the assigned muster station, passengers are advised of instructions in the unlikely

  event that they need to evacuate the vessel during an emergency. [Exh. 7]. In order to prepare for

  an orderly and efficient evacuation, passengers must report to the proper muster station. If a

  passenger needs special accommodation, Carnival’s Special Needs Team is available. [Exh. 7].

  In fact, during the guest safety briefing, passengers needing of special accommodation are

  provided a separate area from other passengers. [Id. at pg. 119-20].

         There is no evidence that there was anything unreasonable about Carnival’s guest safety

  briefing practices.

                                             Conclusion

         Carnival did not proximately cause Plaintiff to fall. By Plaintiff’s own admission, Mr.

  Brewer caused him to fall. The procedures governing the guest safety briefing are reasonable. No

  dangerous condition, attributable to Carnival, existed.

         Carnival is entitled to summary judgment.

                                                Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was served by electronic

   mail and U.S. postal mail on July 23, 2019 on all parties of record on the Service List below.



                                                        /s/ Adam Finkel
                                                        ADAM FINKEL


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